Case 3:12-cv-00660-DRH-SCW Document 898 Filed 08/21/18 Page 1 of 30 Page ID #39009




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS

   MARK HALE, TODD SHADLE and
   LAURIE LOGER, on behalf of themselves
   and all others similarly situated,
                                                  Case No. 12-cv-00660-DRH-SCW
                            Plaintiffs,
                                                  Judge David R. Herndon
         v.                                       Magistrate Judge Stephen C. Williams

   STATE FARM MUTUAL AUTOMO-
   BILE INSURANCE COMPANY, ED-
   WARD MURNANE, and WILLIAM G.
   SHEPHERD,

                            Defendants.




     DEFENDANT STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY’S

                                          TRIAL BRIEF
Case 3:12-cv-00660-DRH-SCW Document 898 Filed 08/21/18 Page 2 of 30 Page ID #39010




                                                       TABLE OF CONTENTS
                                                                                                                                               Page

   TABLE OF AUTHORITIES ...................................................................................................... iii

   INTRODUCTION......................................................................................................................... 1

   ARGUMENT ................................................................................................................................. 1

   I.        PLAINTIFFS’ CLAIMS ARE BARRED BY ROOKER-FELDMAN,
             RES JUDICATA AND COLLATERAL ESTOPPEL .................................................... 1

   II.       PLAINTIFFS MUST PROVE THE ELEMENTS OF THEIR RICO
             CLAIMS............................................................................................................................. 2

             A.         Plaintiffs Must Prove an Association-In-Fact Enterprise ....................................... 2

             B.         Plaintiffs Must Prove a Pattern of Racketeering Activity....................................... 3

             C.         Plaintiffs Must Prove that Defendants Conducted the Affairs of the
                        Enterprise Through a Pattern of Racketeering Activity.......................................... 4

             D.         Plaintiffs Must Prove Predicate Acts of Mail Fraud ............................................... 5

             E.         Plaintiffs Must Prove a RICO Injury to Property ................................................... 6

             F.         Plaintiffs Must Prove “But For” and Proximate Causation .................................... 7

             G.         Plaintiffs Must Prove Actual Damages From A RICO Injury. ............................... 8

             H.         Plaintiffs Must Prove A RICO Conspiracy. .......................................................... 10

   III.      PLAINTIFFS IMPROPERLY RELY ON THE BCS JURY
             INSTRUCTIONS ............................................................................................................ 11

   IV.       PLAINTIFFS’ CLAIMS ARE TIME-BARRED ......................................................... 12

             A.         State Farm Will Show That Plaintiffs’ Claims Are Time-Barred......................... 12

             B.         Plaintiffs Must Prove a Factual Basis for Equitable Tolling or
                        Estoppel................................................................................................................. 14

   V.        THE NOERR-PENNINGTON DOCTRINE APPLIES IN THIS CASE ................... 14

             A.         Noerr-Pennington Is Applicable to RICO Claims and to Response
                        Briefs. .................................................................................................................... 14




                                                                           i
Case 3:12-cv-00660-DRH-SCW Document 898 Filed 08/21/18 Page 3 of 30 Page ID #39011



         B.      Plaintiffs Must Prove Application Of The Sham Exception By
                 Clear and Convincing Evidence, As Required By The Seventh
                 Circuit. .................................................................................................................. 16

   VI.   PLAINTIFFS ARE NOT ENTITLED TO POST-JUDGMENT
         INTEREST UNDER ILLINOIS LAW ......................................................................... 18




                                                                   ii
Case 3:12-cv-00660-DRH-SCW Document 898 Filed 08/21/18 Page 4 of 30 Page ID #39012



                                                  TABLE OF AUTHORITIES

                                                                                                                                  Page(s)

   Cases

   Allied Tube & Conduit Corp. v. Indian Head, Inc.,
       486 U.S. 492 (1988) .................................................................................................................16

   Armada (Singapore) PTE Ltd. v. Amcol International Corp.,
      885 F.3d 1090 (7th Cir. 2018) ...................................................................................................7

   Avery v. State Farm Mut. Auto. Ins. Co.,
      746 N.E.2d 1242 (Ill. App. Ct. 2001), aff’d in part, rev’d in part,
      835 N.E.2d 801 (Ill. 2005) .........................................................................................................9

   Avery v. State Farm Mut. Auto. Ins. Co.,
      No. 97-114, 1999 WL 1022134 (Ill. Cir. Ct. Oct. 8, 1999), aff’d in part, rev’d
      in part, 746 N.E.2d 1242 (Ill. App. Ct. 2001)............................................................................9

   Avery v. State Farm Mutual Automobile Insurance Co.,
      835 N.E.2d 801 (Ill. 2005) ...................................................................................................1, 10

   Baek v. Clausen,
      886 F.3d 652 (7th Cir. 2018) .....................................................................................................2

   BCS Servs. Inc. v. BG Invs., Inc.,
     728 F.3d 633 (7th Cir. 2013) ...................................................................................................11

   Blaine v. City of Chicago,
      8 N.E.2d 939 (Ill. 1937) ...........................................................................................................19

   Bond v. Perley,
      705 F. App’x 464 (7th Cir. 2018) ..............................................................................................2

   Boyle v. United States,
      556 U.S. 938 (2009) ...................................................................................................................3

   BP Prod. N. Am. Inc. v. Int'l Maint. Corp.,
      2005 WL 5976553 (S.D. Tex. May 27, 2005) .........................................................................20

   Broussard v. Meineke Discount Muffler Shops, Inc.,
      155 F.3d 331 (4th Cir. 1998) .....................................................................................................9

   Brown v. Allen,
      344 U.S. 443 (1953) ...................................................................................................................2

   Cancer Found., Inc. v Cerberus Capital Mgmt., LP,
      559 F.3d 671 (7th Cir. 2009) ...................................................................................................13


                                                                       iii
Case 3:12-cv-00660-DRH-SCW Document 898 Filed 08/21/18 Page 5 of 30 Page ID #39013



   Cimino v. Raymark Indus., Inc.,
      151 F3d 297 (5th Cir. 1998) ....................................................................................................10

   Crichton v. Golden Rule Ins. Co.,
      576 F.3d 392 (7th Cir. 2009) .....................................................................................................3

   Cueto v. Grogan,
      No. 08-808, 2009 WL 2849007 (S.D. Ill. Sept. 1, 2009) ........................................................14

   Dillon v. Alan H. Shifrin & Assocs., LLC,
       No. 16-CV-05761, 2017 WL2480706 (N.D. Ill. June 8, 2017) ................................................6

   Doe v. Roe,
      958 F.2d 763 (7th Cir. 1992) .....................................................................................................7

   Eclipse Mfg. Co. v. U.S. Compliance Co.,
       886 N.E.2d 349 (Ill. App. Ct. 2007) ........................................................................................19

   Empress Casino Joliet Corp. v. Balmoral Racing Club, Inc.,
     831 F.3d 815 (7th Cir. 2016) .....................................................................................................3

   Empress Casino Joliet Corp. v. Johnston,
     763 F.3d 723 (7th Cir. 2013) ...................................................................................................12

   Evans v. City of Chicago,
      689 F.2d 1286 (7th Cir. 1982), overruled on other grounds,
      873 F.2d 1286 (7th Cir. 1989) ...................................................................................................7

   Farrar v. Hobby,
      506 U.S. 103 (1992) ...................................................................................................................9

   Franklin v. Warmington,
      709 F. App’x 373 (7th Cir. 2017) ............................................................................................14

   Freeman v. Lasky, Haas & Cohler,
      410 F.3d 1180 (9th Cir. 2005) .................................................................................................15

   G. Heileman Brewing Co. v. Anheuser-Busch Inc.,
      676 F. Supp. 1436 (E.D. Wis. 1987), aff'd, 873 F.2d 985 (7th Cir. 1989) ..............................17

   Gen. Dynamics Corp. v. Am. Tel. & Tel. Co.,
      650 F. Supp. 1274 (N.D. Ill. 1986) ..........................................................................................17

   Gray v. Lacke,
      885 F.2d 399 (7th Cir. 1989) .....................................................................................................6

   Hemi Grp., LLC v. City of New York,
     559 U.S. 1 (2010) ...................................................................................................................7, 8



                                                                       iv
Case 3:12-cv-00660-DRH-SCW Document 898 Filed 08/21/18 Page 6 of 30 Page ID #39014



   H.J. Inc. v. Northwestern Bell Tel. Co.,
      492 U.S. 229 (1989) ...................................................................................................................4

   Holmes v. Secs. Inv. Prot. Corp.,
      503 U.S. 258 (1992) .................................................................................................................12

   Hopes v. Mash,
      No. 08-cv-713, 2010 WL 3490991 (S.D. Ill. Aug. 31, 2010) ....................................................1

   Illinois State Toll Highway Auth. v. Heritage Standard Bank & Trust Co.,
        626 N.E.2d 213 (Ill. 1993) .......................................................................................................19

   In re Innovatio IP Ventures, LLC Patent Litig.,
       921 F. Supp. 2d 903 (N.D. Ill. 2013) .................................................................................15, 16

   In re Marriage of Duggan,
       877 N.E.2d 1140 (Ill. App. Ct. 2007) ........................................................................................7

   Int'l Bhd. of Teamsters, Local 734 Health & Welfare Tr. Fund v. Philip Morris
        Inc.,
        196 F.3d 818 (7th Cir. 1999) .............................................................................................15, 16

   Ira Holtzman, C.P.A., & Assocs. Ltd. v. Turza,
       728 F.3d 682 (7th Cir. 2013) .....................................................................................................9

   Jennings v. Auto Meter Prod., Inc.,
      495 F.3d 466 (7th Cir. 2007) .................................................................................................3, 4

   Jimenez v. City of Chicago,
      732 F.3d 710 (7th Cir. 2013) .....................................................................................................1

   Johnson v. City of South Bend,
      680 F. App’x 475 (7th Cir. 2017) ............................................................................................14

   Kaye v. D’Amato,
      357 F. App’x 706 (7th Cir. 2009) ..............................................................................................4

   Lennon v. City of Carmel,
      865 F.3d 503 (7th Cir. 2017) .....................................................................................................2

   Limestone Dev. Corp. v. Village of Lemont,
      520 F.3d 797 (7th Cir. 2008) ...............................................................................................3, 13

   MCI Communications Corp. v. American Telephone & Telegraph Co.,
     708 F.2d 1081 (7th Cir. 1983) ...........................................................................................17, 18

   McLaughlin Equip. Co. v. Servaas,
     No. 98-127, 2004 WL 1629603 (S.D. Ind. Feb. 18, 2004) ......................................................13



                                                                       v
Case 3:12-cv-00660-DRH-SCW Document 898 Filed 08/21/18 Page 7 of 30 Page ID #39015



   McLaughlin v. Am. Tobacco Co.,
     522 F.3d 215 (2d Cir. 2008).....................................................................................................10

   Medical Emergency Servs. Assocs. v. Foulke,
     844 F.2d 391 (7th Cir. 1988) .....................................................................................................4

   Mercatus Grp., LLC v. Lake Forest Hosp.,
      641 F.3d 834 (7th Cir. 2011) .............................................................................................16, 18

   Miller v. Fryzel,
      499 F. App’x 601 (7th Cir. 2013) ..............................................................................................1

   Mosdos Chofetz Chaim, Inc. v. RBS Citizens, N.A.,
     14 F. Supp. 3d 191 (S.D.N.Y. 2014)........................................................................................16

   Needham v. White Labs., Inc.,
      847 F.2d 355 (7th Cir. 1988) ...................................................................................................19

   Nero v. Mayan Associates Mainstreet Inv. 1, LLC,
      645 F. App’x 864 (11th Cir.), cert. denied, 137 S. Ct. 592 (2016) ............................................6

   Nesses v. Shepard,
      68 F.3d 1003 (7th Cir. 1995) .....................................................................................................2

   New W., L.P. v. City of Joliet,
      491 F.3d 717 (7th Cir. 2007) ...................................................................................................15

   People ex rel. Farwell v. Kelly,
      13 N.E.2d 181 (Ill. 1938) .........................................................................................................19

   Poliszczuk v. Winkler,
      962 N.E.2d 610 (Ill. App. Ct. 2011) ........................................................................................20

   Ray v. Spirit Airlines, Inc.,
      836 F.3d 1340 (11th Cir. 2016) ...............................................................................................12

   Roppo v. Travelers Commercial Ins. Co.,
      869 F.3d 568 (7th Cir. 2017) .....................................................................................................6

   Rotella v. Wood,
      528 U.S. 549 (2000) .................................................................................................................13

   RWB Servs., LLC v. Hartford Computer Grp., Inc.,
     539 F.3d 681 (7th Cir. 2008) .....................................................................................................7

   Sanchez v. City of Chicago,
      880 F.3d 349 (7th Cir. 2018) .....................................................................................................2




                                                                      vi
Case 3:12-cv-00660-DRH-SCW Document 898 Filed 08/21/18 Page 8 of 30 Page ID #39016



   Smith v. United States,
      568 U.S. 106 (2013) .................................................................................................................10

   Spence-Jones v. Rundle,
      991 F. Supp. 2d 1221 (S.D. Fla. 2013) ......................................................................................6

   Spokeo, Inc. v. Robins,
      136 S. Ct. 1540 (2016) .............................................................................................................10

   Stachon v. United Consumers Club, Inc.,
       229 F.3d 673 (7th Cir. 2000) ...................................................................................................10

   State of Ill. ex rel. Hartigan v. Panhandle E. Pipe Line Co.,
       730 F. Supp. 826 (C.D. Ill. 1990) (Mihm, J), aff'd sub nom. State of Ill., ex rel.
       Burris v. Panhandle E. Pipe Line Co., 935 F.2d 1469 (7th Cir. 1991)....................................17

   Suh v. Pierce,
      630 F.3d 685 (7th Cir. 2011) .....................................................................................................8

   Tarpley v. Keistler,
      188 F.3d 788 (7th Cir. 1999) ...................................................................................................15

   Toyo Tire & Rubber Co. v. Atturo Tire Corp.,
      No. 14 C 0206, 2017 WL 1178224 (N.D. Ill. Mar. 30, 2017) .................................................16

   Tri-G, Inc. v. Burke, Bosselman & Weaver,
       856 N.E.2d 389 (Ill. 2006) .................................................................................................18, 19

   Tyson Foods v. Bouaphakeo,
      136 S. Ct. 1036 (2016) .............................................................................................................10

   United Mine Workers of Am. v. Pennington,
      381 U.S. 657 (1965) .................................................................................................................16

   United States v. Pendergraft,
      297 F.3d 1198 (11th Cir. 2002) .................................................................................................5

   United States v. White,
      610 F.3d 956 (7th Cir. 2010) ...................................................................................................16

   Weaver v. Boriskin,
     No. 16-cv-688, 2017 WL 5201433 (E.D.N.Y. Sept. 30, 2017) .................................................4

   Williams v. Jones & Jones Mgmt. Grp., Inc.,
      No. CV 14-2179, 2015 WL 349443 (C.D. Cal. Jan. 23, 2015) ...............................................16

   Wilson v. Garcia,
      471 U.S. 261 (1985) ...................................................................................................................6



                                                                      vii
Case 3:12-cv-00660-DRH-SCW Document 898 Filed 08/21/18 Page 9 of 30 Page ID #39017



   Statutes

   18 U.S.C. § 1964(c) .........................................................................................................................6

   28 U.S.C. § 1961(a) .......................................................................................................................19

   Other Authorities

   BCS Services v. Heartwood 88, LLC,
     No. 05-cv-4095 (N.D. Ill. Nov. 3, 2011) ...........................................................................11, 12

   Committee Comment to the Seventh Circuit Pattern Criminal Jury Instructions
     (2012) .......................................................................................................................................11

   Leonard B. Sand, et al., 4 Modern Federal Jury Instructions-Civil P 84.05 (2018) ......................10

   Seventh Circuit Pattern Criminal Jury Instructions (2012)............................................................10

   Shuffle Tech Int’l v. Scientific Games Corp.,
      1:15-cv-03702 (N.D. Ill. Aug. 8, 2018) ...................................................................................17




                                                                         viii
Case 3:12-cv-00660-DRH-SCW Document 898 Filed 08/21/18 Page 10 of 30 Page ID
                                 #39018



                                        INTRODUCTION
        In 2005, the six participating Justices of the Illinois Supreme Court voted unanimously to

 reverse the $1.05 billion nationwide class judgment in Avery v. State Farm Mutual Automobile

 Insurance Co., 835 N.E.2d 801, 830, 855, 863 (Ill. 2005). As this Court has stated, “[a]ll six

 participating Illinois State Supreme Court Justices voted to reverse the $1.05 billion judgment, to

 decertify the nationwide class, to reverse the award of ‘specification’ damages as having ‘no

 basis in law,’ and to reverse the judgment on the Avery plaintiffs’ ICFA claim.” [846] at 6 n.6.

 Plaintiffs do not contend that any of the Illinois Supreme Court’s rulings on the merits were

 erroneous, [692], at 7-8, Nos. 7-9, and those rulings remain the law of Illinois. Plaintiffs, having

 lost before the Illinois Supreme Court in 2005 and 2011 and before the United States Supreme

 Court in 2006, have come to federal court seeking to recover the full amount of the reversed

 $1.05 billion judgment, nearly $1.8 billion in so-called post-judgment interest on the reversed

 judgment, and treble damages, in the guise of a RICO claim. As shown below, Plaintiffs’ claims

 are not supported by the law or the evidence, and Plaintiffs’ proposed jury instructions are

 erroneous and improper.

                                           ARGUMENT

 I.     PLAINTIFFS’ CLAIMS ARE BARRED BY ROOKER-FELDMAN, RES JUDICA-
        TA AND COLLATERAL ESTOPPEL
        Whether jurisdiction is barred under the Rooker-Feldman doctrine presents issues of law
 and fact for the Court to resolve based on the record at trial. See Hopes v. Mash, No. 08-cv-713,

 2010 WL 3490991, at *5 (S.D. Ill. Aug. 31, 2010) (Herndon, J.) (citing Pavey v. Conley, 544

 F.3d 739, 741 (7th Cir. 2008), aff’d, 663 F.3d 899 (7th Cir. 2011)); Jimenez v. City of Chicago,

 732 F.3d 710, 718 (7th Cir. 2013) (the record at trial supersedes the record on summary

 judgment). Plaintiffs bear the burden to establish subject matter jurisdiction by a preponderance

 of the evidence. See Miller v. Fryzel, 499 F. App’x 601, 603 (7th Cir. 2013). Here, the evidence

 will leave no doubt that Plaintiffs’ purported injury (whether characterized by Plaintiffs as the
 loss of the $1.05 judgment or as the “tainting” of the tribunal) “flow[ed] directly” from the



                                                  1
Case 3:12-cv-00660-DRH-SCW Document 898 Filed 08/21/18 Page 11 of 30 Page ID
                                 #39019



 Illinois Supreme Court’s merits decision and its rulings on Justice Karmeier’s participation in

 Avery. See Lennon v. City of Carmel, 865 F.3d 503, 507 (7th Cir. 2017). There is no “fraud

 exception” to Rooker-Feldman, see Bond v. Perley, 705 F. App’x 464, 465 (7th Cir. 2018), and

 Plaintiffs cannot make the necessary factual showings to establish that the exception to Rooker-

 Feldman set forth in Nesses v. Shepard, 68 F.3d 1003 (7th Cir. 1995), applies in this case.1

        In addition, res judicata and collateral estoppel bar Plaintiffs’ claims, which

 impermissibly seek to re-litigate their entitlement to the $1.05 billion judgment and the

 constitutional propriety of Justice Karmeier’s participation. See Baek v. Clausen, 886 F.3d 652,

 660 (7th Cir. 2018) (res judicata barred RICO claims based on same “single group of operative

 facts” as earlier state law claims); Sanchez v. City of Chicago, 880 F.3d 349, 357 (7th Cir. 2018)

 (plaintiff collaterally estopped from rearguing issues argued in state court); Nesses, 68 F.3d at

 100 (state-court judgment barred plaintiff’s effort to litigate the same claim in federal court;

 affirming dismissal based on res judicata). The United States Supreme Court’s denial of

 Plaintiffs’ petition for certiorari in Avery, which was based on the same allegations as are at issue

 here, also has res judicata effect and bars Plaintiffs’ RICO claims. See Brown v. Allen, 344 U.S.

 443, 543 (1953) (Jackson, J., concurring) (the “minimum meaning” of a denial of certiorari is

 that “the judgment below … stand[s] with whatever consequences it may have upon the litigants

 involved under the doctrine of res judicata as applied either by state or federal courts”).

 II.    PLAINTIFFS MUST PROVE THE ELEMENTS OF THEIR RICO CLAIMS
        A.      Plaintiffs Must Prove an Association-In-Fact Enterprise.
        Liability under section 1962(c) requires proof of an enterprise. Plaintiffs allege an


 1
   The Nesses exception would require Plaintiffs to show that the Avery decision reversing the
 $1.05 billion judgment was “erroneous” and that there was judicial “corruption.” Nesses, 68 F.3d
 at 1005; [669] at 5-6. Plaintiffs have conceded that they do not quarrel with the legal merits of
 the Avery decision. [610] at 7-8. Moreover, regardless of any bogus 2005 corruption allegations,
 Plaintiffs cannot show that the Illinois Supreme Court’s 2011 denial of Plaintiffs’ petition to re-
 instate the Avery judgment falls within the Nesses exception. Not only did Justice Karmeier not
 participate in that decision, but the Illinois Supreme Court included two new Justices. That 2011
 decision is ironclad protected from Plaintiffs’ attack by Rooker-Feldman.


                                                  2
Case 3:12-cv-00660-DRH-SCW Document 898 Filed 08/21/18 Page 12 of 30 Page ID
                                 #39020



 association-in-fact enterprise, supposedly “conducted by” State Farm and consisting of

 Defendants, various persons and organizations supposedly involved in supporting Justice

 Karmeier’s campaign, or with ties to such organizations, and Justice Karmeier himself. See [289]

 ¶ 29. Plaintiffs cannot show that this amorphous group of persons and entities functioned as an

 association-in-fact. To do so, Plaintiffs would have to show “three structural features: a purpose,

 relationships among those associated with the enterprise, and longevity sufficient to permit these

 associates to pursue the enterprise’s purpose.” Boyle v. United States, 556 U.S. 938, 944-45

 (2009). An association-in-fact enterprise “is proved by evidence of an ongoing organization,

 formal or informal, and by evidence that the various associates function as a continuing unit.”

 Id.; see Limestone Dev. Corp. v. Village of Lemont, 520 F.3d 797, 805 (7th Cir. 2008) (enterprise

 “requires proof of ‘an ongoing structure of persons associated through time, joined in purpose,

 and organized in a manner amenable to hierarchical or consensual decision-making’” (citation

 omitted)). Such an enterprise “must be meaningfully distinct from the entities that comprise it”

 such that a defendant “can be said to have controlled and conducted the enterprise rather than

 merely its own affairs.” Crichton v. Golden Rule Ins. Co., 576 F.3d 392, 399 (7th Cir. 2009).

        Plaintiffs’ proposed instructions on enterprise consist of three sentences and would not

 provide the necessary guidance to the jury on what the law requires as proof of an association-in-

 fact enterprise. These proposed instructions advise the jury only that it should “consider”
 whether the group has an ongoing organization or structure. Pls.’ Proposed Instructions at 6.

 Furthermore, Plaintiffs’ instructions also fail to explain that one defendant cannot be the

 enterprise itself. That instruction is necessary given Plaintiffs’ central focus on Defendant State

 Farm. See Defs.’ Proposed Instructions at 5.

        B.      Plaintiffs Must Prove a Pattern of Racketeering Activity.
        To prove a pattern of racketeering, the alleged predicate acts must be related and have

 “continuity.” See Jennings v. Auto Meter Prod., Inc., 495 F.3d 466, 475 (7th Cir. 2007). The

 continuity requirement is designed to ensure that “RICO targets ‘long-term criminal conduct’”
 rather than “one-off crimes.” Empress Casino Joliet Corp. v. Balmoral Racing Club, Inc., 831


                                                 3
Case 3:12-cv-00660-DRH-SCW Document 898 Filed 08/21/18 Page 13 of 30 Page ID
                                 #39021



 F.3d 815, 828 (7th Cir. 2016). Continuity may be either “closed-ended,” consisting of “‘a series

 of related predicates extending over a substantial period of time,’” or “open-ended,” consisting

 of “‘past conduct that by its nature projects into the future with a threat of repetition.’” Id.

 (citation omitted). Plaintiffs’ allegations do not describe either a “closed-ended” or “open-ended”

 pattern. The two alleged predicate acts (the 2005 and 2011 State Farm briefs) are not “ongoing

 over a period of time,” Medical Emer. Serv. Assocs. v. Foulke, 844 F.2d 391, 395 (7th Cir.

 1988), or “part of [the alleged enterprise’s] regular way of doing business,” H.J. Inc. v. Nw. Bell

 Tel. Co., 492 U.S. 229, 243 (1989). Rather, each is “a singular predicate act” and “isolated or

 sporadic.” Jennings, 495 F.3d at 473-74. Furthermore, purported acts of concealment, even if

 themselves illegal, “‘do nothing to extend the duration’” of a purported RICO scheme. Id. at 474;

 see also Weaver v. Boriskin, No. 16-cv-688, 2017 WL 5201433, at *9 (E.D.N.Y. Sept. 30, 2017)

 (“a handful of fraudulent filings, over a brief period” in a single case did not establish pattern).

        Plaintiffs’ proposed instructions do not inform the jury that finding two or more

 violations may be insufficient to prove a pattern. Compare Pls.’ Proposed Jury Instructions at 7

 with Jennings, 495 F.3d at 472 (“A pattern of racketeering activity consists, at the very least, of

 two predicate acts of racketeering committed within a ten-year period.”) (emphasis added) and

 Seventh Circuit Pattern Criminal Jury Instructions (2012) at 525 and Defs’ Proposed Jury

 Instructions at 12. Indeed, all Plaintiffs propose telling the jurors on continuity is that they can
 find it if the violations are “ongoing over a substantial period or are part of a regular way of

 conducting one’s business.” Pls.’ Proposed Jury Instructions at 7. That is a misstatement of the

 law. First, the inquiry is not limited to these two factors (which are in any event irrelevant to

 Plaintiffs’ allegations). Plaintiffs’ proposed instruction also fails to inform the jury that isolated

 acts involving the same transaction or injury do not show continuity “even if the purported

 scheme takes years to unfold.” Kaye v. D’Amato, 357 F. App’x 706, 716 (7th Cir. 2009).

        C.      Plaintiffs Must Prove that Defendants Conducted the Affairs of the Enter-
                prise Through a Pattern of Racketeering Activity.
        The purported pattern of racketeering activity in this case does not relate to any purported



                                                   4
Case 3:12-cv-00660-DRH-SCW Document 898 Filed 08/21/18 Page 14 of 30 Page ID
                                 #39022



 affairs of the alleged association and was not used to conduct those purported affairs. The 2005

 and 2011 briefs were drafted by State Farm’s lawyers. Plaintiffs can provide no evidence that the

 alleged association still existed and still had (or ever had) “affairs” to conduct at the time of the

 2005 mailing, much less at the time of the 2011 mailing. Plaintiffs can provide no evidence that

 the alleged association members had a common purpose of obtaining reversal of the Avery

 judgment or any other common purpose that continued after Justice Karmeier’s election on

 November 4, 2004. State Farm’s briefs have no connection to the alleged enterprise, nor is there

 any evidence that Defendants conducted the affairs of the alleged enterprise through State

 Farm’s filing of legal pleadings. Thus, neither State Farm nor any other Defendant conducted the

 affairs of the enterprise through the alleged racketeering activity.

         Plaintiffs’ proposed instructions impermissibly denude the statutory requirement and

 would erroneously allow the jury to find liability for a Defendant that never conducted or

 participated in the conduct of the enterprise. See Pls.’ Proposed Instructions at 8.

         D.     Plaintiffs Must Prove Predicate Acts of Mail Fraud,
         Plaintiffs also cannot prove that State Farm’s 2005 and 2011 response briefs contained

 fraudulent statements or served a scheme to defraud. State Farm’s briefs were legitimate

 advocacy; they appropriately argued the evidence and the inferences to be drawn from the

 evidence. See Mem. & Order [300] at 9 (Williams, M.J.) (citing and quoting Apotex Corp. v.
 Merck & Co., 229 F.R.D. 142, 147 (N.D. Ill. 2005)). Implicitly recognizing the propriety of these

 briefs, Plaintiffs’ proposed instructions would erroneously tell the jury that State Farm’s briefs

 themselves need not contain fraudulent statements to be predicate acts of mail fraud. See Pls.’

 Proposed Instructions at 10. Plaintiffs have not alleged, however, any other manner in which the

 Illinois Supreme Court was or could have been deceived, which is the gist of their fraud claim. If

 the briefs do not contain fraudulent statements (and they do not), there is no mail fraud scheme in

 this case.

         Furthermore, litigation conduct of the kind alleged here as a matter of law does not
 constitute a RICO predicate act of mail fraud. See, e.g., United States v. Pendergraft, 297 F.3d


                                                   5
Case 3:12-cv-00660-DRH-SCW Document 898 Filed 08/21/18 Page 15 of 30 Page ID
                                 #39023



 1198, 1208 (11th Cir. 2002) (“serving litigation documents by mail” cannot constitute RICO

 predicate acts); Nero v. Mayan Associates Mainstreet Inv. 1, LLC, 645 F. App’x 864, 868 (11th

 Cir.) (in RICO action, making clear that the “rule” that “federal fraud charges cannot be based on

 the filing of court documents” is unqualified), cert. denied, 137 S. Ct. 592 (2016); Dillon v. Alan

 H. Shifrin & Assocs., LLC, No. 16-CV-05761, 2017 WL2480706, at *5 n.4 (N.D. Ill. June 8,

 2017) (Gottschall, J.) (following Nero in RICO case and finding that Plaintiff’s “predicate acts

 stemming from various kinds of fraud fail because he bases them on court filings”). As the

 Seventh Circuit has stated, “[t]he state courts … have ample tools to correct any individual

 instances of fraud or other misconduct” that occur during litigation. Jennings, 495 F.3d at 473.

        E.      Plaintiffs Must Prove a RICO Injury to Property.
        RICO requires an injury to business or property. See 18 U.S.C. § 1964(c). Plaintiffs,

 however, once again claim a due process injury based on their contention that they were deprived

 of a fair tribunal. Such a constitutional injury, as a matter of law, is not a RICO injury to business

 or property, but a personal injury claim. See Wilson v. Garcia, 471 U.S. 261, 280 (1985) (a due

 process claim is a claim for an “injury to the individual rights of the person”); Gray v. Lacke, 885

 F.2d 399, 407 (7th Cir. 1989) (claims for violation of constitutional rights are personal injury

 claims). Thus, the numerous district courts that have ruled on the issue are correct in holding that

 a constitutional injury cannot be the basis for a RICO claim. E.g., Spence-Jones v. Rundle, 991
 F. Supp. 2d 1221, 1254 (S.D. Fla. 2013) (Middlebrooks, J.) (plaintiff did not allege a RICO

 injury to business or property; her “claims in this case are for personal injury – to her individual

 constitutional rights and to her personal reputation.”); [694] at 26-27 (citing cases). Plaintiffs’

 contention that their purported constitutional injury resulted in financial loss by causing the

 reversal of the $1.05 billion Avery judgment does not change the result. RICO’s requirement of

 injury to business or property “preclude[s] recovery for personal injuries and the pecuniary

 losses incurred therefrom.” Roppo v. Travelers Commercial Ins. Co., 869 F.3d 568, 590 (7th Cir.

 2017) (emphasis added).
        Moreover, to the extent that Plaintiffs allege that their injury is the loss of the judgment in


                                                   6
Case 3:12-cv-00660-DRH-SCW Document 898 Filed 08/21/18 Page 16 of 30 Page ID
                                 #39024



 Avery, that loss also is not an injury to business or property. First, whether an asserted interest

 qualifies as a property interest is “quintessentially a question of state law,” see Doe v. Roe, 958

 F.2d 763, 768 (7th Cir. 1992), and, under Illinois law, a non-final judgment is not property. See

 In re Marriage of Duggan, 877 N.E.2d 1140, 1145 (Ill. App. Ct. 2007) (“a judgment that is

 pending on appeal is not a final judgment” and not a vested right of property protected by due

 process); Evans v. City of Chicago, 689 F.2d 1286, 1296 (7th Cir. 1982) (“Under Illinois law, a

 judgment becomes a vested right of property once it is no longer subject to review or

 modification.”), overruled on other grounds, 873 F.2d 1286, 1296 (7th Cir. 1989).

         The Seventh Circuit’s recent decision in Armada (Singapore) PTE Ltd. v. Amcol

 International Corp., 885 F.3d 1090 (7th Cir. 2018), is not to the contrary, because the judgment

 claimed as a property interest in that case was a final judgment that the plaintiff was trying to

 collect while the defendant was trying to thwart collection by siphoning off assets. Id. at 1093.

 Here, in contrast, Plaintiffs’ claimed property interest is an interest in a non-final judgment that

 was reversed by the Illinois Supreme Court – a property interest that was inchoate before the

 Illinois Supreme Court’s decision and non-existent afterwards. And the actual final judgment is

 the law of Illinois.

         F.      Plaintiffs Must Prove “But For” and Proximate Causation.
         Under civil RICO, Plaintiffs are “required to show that a RICO predicate offense ‘not
 only was a “but for” cause of [their] injury, but was the proximate cause as well.’” Hemi Grp.,

 LLC v. City of New York, 559 U.S. 1, 9 (2010); see also RWB Servs., LLC v. Hartford Computer

 Grp., Inc., 539 F.3d 681, 686-87 (7th Cir. 2008). Notably, Plaintiffs’ proposed jury instructions

 omit “but for” causation and would incorrectly permit the jury to find proximate causation based

 on foreseeability. See Pls.’ Proposed Instructions at 7 (causation exists if “the injury resulted

 directly from or was a reasonably probable consequence of the defendants’ conduct”) (emphasis

 added). This proposed instruction is contrary to Hemi Group, which states that, “in the RICO

 context,” the “focus” of the proximate cause analysis “is on the directness of the relationship
 between the conduct and the harm” and rejects a foreseeability analysis. See Hemi Grp., 559


                                                  7
Case 3:12-cv-00660-DRH-SCW Document 898 Filed 08/21/18 Page 17 of 30 Page ID
                                 #39025



 U.S. at 12. Where a defendant’s conduct is separated from a plaintiff’s injury by “independent

 factors” or “multiple steps,” the causal link may be too remote or attenuated to satisfy proximate

 cause. Id. at 9-10, 15, 17-18.

        Plaintiffs cannot meet their burden on causation. Plaintiffs claim that, in order to recoup

 the entire reversed $1.05 billion judgment in Avery, they need only prove that the Illinois

 Supreme Court was “tainted” by Justice Karmeier’s participation. There is no such recoverable

 injury under RICO, nor can Plaintiffs prove that a predicate act by Defendants caused Justice

 Karmeier’s participation, that Justice Karmeier’s participation in turn “tainted” the Illinois

 Supreme Court, or that the supposed “tainting” caused Plaintiffs’ loss of the Avery judgment.

 There are “multiple steps” in each of these stages in the chain of causation. For example, to

 show that Justice Karmeier’s participation “tainted” the Illinois Supreme Court, Plaintiffs would

 have to present evidence that, contrary to Justice Karmeier’s sworn statement, Justice Karmeier

 knew of the purported contributions supposedly made by State Farm. See Suh v. Pierce, 630 F.3d

 685, 691-92 (7th Cir. 2011) (“[I]f the judge does not even know about [the disqualifying]

 financial interest, how could he be tempted to undermine the case?”). Likewise, Plaintiffs cannot

 prove that Justice Karmeier’s participation in 2005 had any effect on any of the multiple

 outcomes in the final judgment, and, of course, he did not even participate in 2011. Plaintiffs

 cannot provide evidence of the multiple links required to hold their chain of causation together.
 Instead, they propose overbroad and erroneous instructions that misstate the requirements for

 RICO causation.

        G.      Plaintiffs Must Prove Actual Damages From A RICO Injury.
        After six years, Plaintiffs have offered no evidence or authority that would provide

 factual or legal support for their contention that the class members each are entitled to a per

 capita share of the purported damages they claim to have sustained on the basis of two RICO

 claims. See, e.g., Pls.’ Reply Mem. in Support of Their Mot. For Class Certification, [492] at 4-

 5. Only if parties have a common and undivided interest in a single title or right, are per capita
 damages permissible. There is no such remedy under RICO. In any event, where, as here, a class


                                                 8
Case 3:12-cv-00660-DRH-SCW Document 898 Filed 08/21/18 Page 18 of 30 Page ID
                                 #39026



 action “stems from discrete injuries,” “it does not create a common fund.” See Ira Holtzman,

 C.P.A., & Assocs. Ltd. v. Turza, 728 F.3d 682, 688 (7th Cir. 2013). “A class certified under Rule

 23(b)(3) is not a juridical entity,” and “[e]ach class member has an interest in his own damages.”

 Id. RICO damages must be proven with reasonable certainty, and per capita damages is nothing

 more than an arbitrary construct to salvage Plaintiffs’ inability to meet their legal proof

 requirements.

        Characterizing a claim for denial of due process as a RICO claim is no help because a

 plaintiff who shows a denial of due process is entitled only to “‘nominal damages without proof

 of actual injury.’” Farrar v. Hobby, 506 U.S. 103, 112 (1992) (citation omitted).            Thus,

 Plaintiffs’ alleged common due process injury does not mean that Plaintiffs and class members

 need not each show the amount of their purported damages, i.e., the amount they would have

 been entitled to recover in Avery if the judgment had been upheld. That amount (if any) would

 have been determined individually, based on the facts and circumstances of the individual repair

 and the number and kind of non-OEM parts specified and used in the repair. In entering

 judgment in Avery, the Illinois trial court retained jurisdiction to “administer and distribute the

 common fund resulting from [the] Judgment … based upon appropriate proof of class

 membership and claims, to be obtained insofar as is practicable from the records of State Farm,

 and augmented, if and as necessary, by documents and information from class members and their
 vehicles.” Avery v. State Farm Mut. Auto. Ins. Co., No. 97-114, 1999 WL 1022134, at *6, (Ill.

 Cir. Ct. Oct. 8, 1999), aff’d in part, rev’d in part, 746 N.E.2d 1242 (Ill. App. Ct. 2001). The

 Illinois Appellate Court also acknowledged that “individual determinations as to damages

 w[ould] be necessitated.” Avery v. State Farm Mut. Auto. Ins. Co., 746 N.E.2d 1242, 1255 (Ill.

 App. Ct. 2001), aff’d in part, rev’d in part, 835 N.E.2d 801 (Ill. 2005). Indeed, Plaintiffs

 themselves admit that the class members’ purported damages in Avery ranged from several

 hundred dollars to $2,500 ([289] ¶ 43), and that the circumstances of the class members varied

 greatly. (SOF ¶¶ 37-38, [694] at 19.) Defendants have a Seventh Amendment and due process
 right to litigate these individual issues of causation, injury and damages. See, e.g., Broussard v.


                                                 9
Case 3:12-cv-00660-DRH-SCW Document 898 Filed 08/21/18 Page 19 of 30 Page ID
                                 #39027



 Meineke Discount Muffler Shops, Inc., 155 F.3d 331, 343, 345 (4th Cir. 1998); McLaughlin v.

 Am. Tobacco Co., 522 F.3d 215, 231-32 (2d Cir. 2008); Cimino v. Raymark Indus., Inc., 151 F3d

 297, 311-22 (5th Cir. 1998).

        Furthermore, as the Illinois Supreme Court pointed out, the class defined by the Illinois

 trial court in Avery included persons who had not sustained any injury or damages, and the issues

 of injury and damages in Avery were overwhelmingly individual. See, e.g., Avery v. State Farm

 Mut. Auto. Ins. Co., 835 N.E.2d 801, 858-60 (Ill. 2005). Moreover, in this case, the Court has

 expanded the class definition to include persons whose cars were repaired with OEM parts paid

 for by State Farm, even though their original estimates included non-OEM parts. Awarding such

 class members per capita damages would be constitutionally impermissible. See Spokeo, Inc. v.

 Robins, 136 S. Ct. 1540, 1548 (2016) (plaintiffs must prove “‘concrete’” injury that “actually

 exist[s]” and is “‘real,’ and not ‘abstract’” (citations omitted)); Tyson Foods v. Bouaphakeo, 136

 S. Ct. 1036, 1053 (2016) (“Article III does not give federal courts the power to order relief to any

 uninjured plaintiff, class action or not”) (Roberts, C.J., concurring, joined by Alito, J.).

        H.      Plaintiffs Must Prove A RICO Conspiracy.
        Plaintiffs’ RICO conspiracy allegations are insufficient for the same reasons that their

 substantive RICO allegations fail. See Stachon v. United Consumers Club, Inc., 229 F.3d 673,

 677 (7th Cir. 2000) (because plaintiffs “fail[ed] to establish a violation of section 1962(c), their
 1962(d) claim based on the same facts must fail as well.”). Furthermore, a RICO conspiracy

 requires a knowing agreement to commit a RICO violation – in this case, to conduct or

 participate in the conduct of the enterprise through a pattern of racketeering activity. See Smith v.

 United States, 568 U.S. 106, 110 (2013); see also Seventh Circuit Pattern Criminal Jury

 Instructions (2012) at 529; Leonard B. Sand, et al., 4 Modern Federal Jury Instructions-Civil P

 84.05 (2018) (model instruction 85-36) (modified). There is no such proof in this case.

        Plaintiffs’ Proposed Jury Instructions misstate the law of RICO conspiracy. For example,

 the “definitions” section vaguely states that there must be a “formal or informal agreement
 between two or more persons or entities to accomplish an unlawful purpose,” without specifying


                                                   10
Case 3:12-cv-00660-DRH-SCW Document 898 Filed 08/21/18 Page 20 of 30 Page ID
                                 #39028



 that the purpose must be unlawful under RICO. Compare Pls.’ Proposed Instructions at 8 with 4

 Modern Federal Jury Instructions-Civil P 84.05 and Defs.’ Proposed Instructions at 15-16.

 Plaintiffs’ other proposed instructions on the elements of conspiracy are confusing, incorrect, and

 internally contradictory. See Pls.’ Proposed Instructions at 5. Incredibly, Plaintiffs propose

 telling the jury that “plaintiffs are not required to prove that any racketeering activity was

 actually committed,” but that “at least one member of the conspiracy [must have] committed an

 overt act in furtherance of the conspiracy,” which “overt act may itself be a lawful act.”2 But the

 same instruction contradictorily acknowledges that Plaintiffs must prove that “[a]t least one overt

 act which is an act of racketeering caused the [RICO injury].” Id. at 5. Plaintiffs’ lawless

 instructions will confuse and mislead the jury and should not be given.

 III.   PLAINTIFFS IMPROPERLY RELY ON THE BCS JURY INSTRUCTIONS
        Plaintiffs attempt to justify their proposed RICO jury instructions by relying almost

 entirely on the instructions supposedly given by the district court in BCS Services v. Heartwood

 88, LLC, No. 05-cv-4095 (N.D. Ill. Nov. 3, 2011). See Pls.’ Proposed Instructions at 1-10.

 Significantly, although the Seventh Circuit affirmed the judgment in BCS, it did not endorse the

 jury instructions. It addressed only two of the BCS instructions, which it held that the district

 court properly refused to give, one because it was irrelevant on the facts of the case and the other

 because it was duplicative of another instruction given to the jury. See BCS Servs. Inc. v. BG
 Invs., Inc., 728 F.3d 633, 637 (7th Cir. 2013). Moreover, Plaintiffs here modeled many of their

 proposed jury instructions on draft instructions in BCS that are substantially different than the

 final instructions actually given to the jury, and Plaintiffs made significant changes to those draft

 instructions. Compare Draft Final Jury Instructions, BCS Servs. [Dkt. 874], with Tr. of Jury

 Instructions, BCS Servs. [Dkt. 1072] and Pls.’ Proposed Instructions.

        Most glaringly wrong, Plaintiffs’ proposed instruction on causation would allow the jury

 to find causation if the injury was a “reasonably probable consequence of the defendants’

 2
  According to the Committee Comment to the Seventh Circuit Pattern Criminal Jury Instructions
 (2012), at 525, RICO conspiracy instructions should not include an overt act requirement.


                                                  11
Case 3:12-cv-00660-DRH-SCW Document 898 Filed 08/21/18 Page 21 of 30 Page ID
                                 #39029



 conduct.” Pls.’ Proposed Instructions at 7. As discussed above, that proposed instruction is

 squarely contrary to Supreme Court and Seventh Circuit precedent. See, e.g., Holmes v. Secs.

 Inv. Prot. Corp., 503 U.S. 258, 268 (1992) (RICO requires “‘but for’ cause” and “proximate

 cause”). Notably, unlike Plaintiffs’ instructions, the final BCS instructions required but-for

 causation. See BCS, [Dkt. 1072] at 118 (“[P]laintiff must prove that its claimed injury would not

 have occurred in the absence of defendants’ conduct.”).3 Plaintiffs’ Proposed Instructions also,

 inter alia, remove mens rea elements included in the final BCS instructions, keep an instruction

 that the Plaintiffs need not prove a “gain or loss” to establish mail fraud which was removed

 from the final BCS instructions, and rewrite the conspiracy causation element in a way that

 creates confusion and internal contradictions.4 Compare Pls.’ Proposed Instructions at 4, 5, 10

 with BCS, [Dkt.1072] at 114-15, 120-21. In any case, the BCS instructions are not binding

 precedent, and should not be used here, particularly given that they depart from the Seventh

 Circuit Criminal Pattern Instructions and from Seventh Circuit and United State Supreme Court

 pronouncements on the law of RICO and the proof required to sustain a RICO claim.

 IV.    PLAINTIFFS’ CLAIMS ARE TIME-BARRED

        A.      State Farm Will Show That Plaintiffs’ Claims Are Time-Barred.
        A RICO claim accrues when (1) the plaintiffs knows, or should reasonably know, of his

 3
   Ray v. Spirit Airlines, Inc., 836 F.3d 1340, 1349 (11th Cir. 2016), and Empress Casino Joliet
 Corp. v. Johnston, 763 F.3d 723, 729 (7th Cir. 2013), cited by Plaintiffs on p. 8 of their Proposed
 Instructions, do not support their proximate cause instruction. Under Ray, Plaintiffs must prove
 both “‘but-for’ and proximate causation,” and “the fact that an injury is reasonably foreseeable is
 not sufficient to establish proximate cause in a RICO action – the injury must be direct.” 836
 F.3d at 1349. Under Empress Casino, the “‘central question’” on proximate cause is whether the
 alleged RICO violation “led directly” to the plaintiff’s injuries. 763 F.3d 729. Neither case sup-
 ports Plaintiffs’ either/or formulation, which would improperly permit the jury to find proximate
 cause based solely on whether the purported injury “was a reasonably probable consequence of
 the defendants’ conduct.” Pls. Proposed Instructions at 7. Plaintiffs’ proposed instruction is fur-
 ther objectionable because of its vague references to “conduct” and “acts” instead of repeating
 the words “predicate acts” as necessary for clarity.
 4
  Plaintiffs’ Proposed Instructions also include BCS instructions that are irrelevant here, such as a
 willful blindness instruction that is not supported by the facts here and is contrary to the require-
 ment of a specific intent to defraud. See Pls.’ Proposed Instructions at 9.


                                                  12
Case 3:12-cv-00660-DRH-SCW Document 898 Filed 08/21/18 Page 22 of 30 Page ID
                                 #39030



 or her injury, and (2) at least two predicate acts have been committed by the defendant. Cancer

 Found., Inc. v Cerberus Capital Mgmt., LP, 559 F.3d 671, 674 (7th Cir. 2009) (RICO statute of

 limitations “begins to run when the plaintiffs discover, or should, if diligent, have discovered,

 that they had been injured by the defendants”); Limestone, 520 F.3d at 802 (a RICO claim

 accrues when there have been two “predicate acts that took place outside the limitations

 period.”). A plaintiff need not know of the pattern of predicate acts for the statute of limitations

 to run. See Rotella v. Wood, 528 U.S. 549, 558-59 (2000). Defendants have the burden of

 proving the application of the statute of limitations by a preponderance of the evidence. See

 McLaughlin Equip. Co. v. Servaas, No. 98-127, 2004 WL 1629603, at *5 (S.D. Ind. Feb. 18,

 2004) (Tinder, J.).

        Defendants contend that the uncontroverted facts of the history of the Avery case

 establishes that Plaintiffs’ claims are time-barred. According to Plaintiffs, the first predicate act

 in this case was State Farm’s mailing of its January 31, 2005 brief opposing Plaintiffs’

 conditional motion for Justice Karmeier’s participation. That brief was followed by three more

 State Farm briefs, mailed on or around February 9, 2005, March 31, 2005, and February 3, 2006,

 opposing Plaintiffs’ contentions in further motions and submissions that State Farm had

 misrepresented its support for Justice Karmeier’s campaign and that Justice Karmeier’s

 participation in Avery had deprived Plaintiffs of due process. See [694] at 6-8. Plaintiffs cannot
 have it both ways. If State Farm’s mailing of its January 31, 2005 brief was a predicate act of

 mail fraud, then its three other briefs must also be deemed predicate acts of mail fraud. Thus,

 based on Plaintiffs’ own theory of predicate acts, the statute of limitations began to run no later

 than 2005 or 2006, by which time Plaintiffs had suffered the reversal of the $1.05 billion Avery

 judgment and no fewer than four briefs had been mailed. The statute expired four years later by

 2009 or 2010 at the latest, well before Plaintiffs filed their RICO complaint on May 29, 2012.

 Moreover, State Farm’s brief in response to Plaintiffs’ 2011 Petition to the Illinois Supreme

 Court, which Plaintiffs have incorrectly labeled the second predicate act, did not restart the four-
 year period because no new, independent injury to property resulted from it. See Limestone, 520


                                                  13
Case 3:12-cv-00660-DRH-SCW Document 898 Filed 08/21/18 Page 23 of 30 Page ID
                                 #39031



 F.3d at 802; Cueto v. Grogan, No. 08-808, 2009 WL 2849007, at *3 (S.D. Ill. Sept. 1, 2009)

 (Herndon, J.).

        B.        Plaintiffs Must Prove a Factual Basis for Equitable Tolling or Estoppel.
        Plaintiffs bear the burden to prove facts that would entitle them to equitable tolling or

 equitable estoppel. See Johnson v. City of South Bend, 680 F. App’x 475, 478 (7th Cir. 2017).

 To satisfy that burden, Plaintiffs would need to show either (1) that they could not have obtained

 vital information to file a claim before the end of the four-year period and that extraordinary

 circumstances far beyond their control prevented them from timely filing their lawsuit, or (2) that

 Defendants actively engaged in wrongdoing to prevent Plaintiffs from suing in time, that the

 purported wrongdoing went beyond the wrongdoing on which Plaintiffs’ RICO claims are based,

 and that Plaintiffs reasonably relied on the defendants’ improper conduct. See Franklin v.

 Warmington, 709 F. App’x 373, 375 (7th Cir. 2017). Plaintiffs cannot meet this burden. They

 have been repeating essentially the same factual allegations since 2005.

        State Farm’s jury instructions on the statute of limitations accurately reflect the law, and

 State Farm is entitled to have these issues presented to the jury for decision.5

 V.     THE NOERR-PENNINGTON DOCTRINE APPLIES IN THIS CASE

        A.        Noerr-Pennington Is Applicable to RICO Claims and to Response Briefs.
        State Farm has argued from this case’s inception that Noerr-Pennington protects State
 Farm’s petitioning activity in filing its response briefs in the Illinois Supreme Court in Avery.6

 Moreover, Plaintiffs acknowledged in their summary judgment briefing that the “doctrine


 5
   Plaintiffs improperly propose an instruction that “Plaintiffs’ suspicion, concern, or fear that
 they had been injured and that the Defendants were the ones that caused the injury is not enough
 to begin the four-year period ….” Pls.’ Proposed Instructions at 14. Given that, starting in 2005,
 Plaintiffs repeatedly argued to the Illinois Supreme Court that, because of State Farm’s supposed
 support for Justice Karmeier’s campaign, his participation in Avery violated due process, Plain-
 tiffs’ contention that they had only “suspicion, concern, or fear” is frivolous.
 6
   See, e.g., [21] at 30 (Mot. to Dismiss) (“The Noerr-Pennington doctrine is applicable to RICO
 suits”); [691] at 47 (Mot. for Summary Judgment) (arguing that Noerr-Pennington is applicable
 to RICO suits and the sham exception for fraudulent misrepresentations does not apply).


                                                  14
Case 3:12-cv-00660-DRH-SCW Document 898 Filed 08/21/18 Page 24 of 30 Page ID
                                 #39032



 protects from liability the petitioning of legislative bodies, administrative agencies, and the

 courts,” and argued that the “sham exception” to the doctrine applies. See [729] at 38. And, in

 ruling on summary judgment, this Court found that “there are disputes of material facts”

 concerning the materiality and intent prongs of the sham exception, which (as discussed below)

 necessitates instruction on those issues and a decision by the jury. See [846] at 22 & n. 9.7

           Plaintiffs now erroneously suggest that Noerr-Pennington is inapplicable because it is

 limited to the antitrust context, citing inapposite, out-of-circuit cases. See Plfs’ Proposed

 Instructions at 19 n.1. Plaintiffs fail to acknowledge Seventh Circuit precedent directly contrary

 to their position. The Seventh Circuit has made clear that “Noerr-Pennington has been extended

 beyond the antitrust laws, where it originated, and is today understood as an application of the

 first amendment’s speech and petitioning clauses.” New W., L.P. v. City of Joliet, 491 F.3d 717,

 722 (7th Cir. 2007) (applying Noerr-Pennington to civil rights and Fair Housing Act claims).

 More specifically, the Seventh Circuit has held that “[a]lthough the Noerr-Pennington doctrine

 originated in antitrust law, its rationale is equally applicable to RICO suits.” Int'l Bhd. of

 Teamsters, Local 734 Health & Welfare Tr. Fund v. Philip Morris Inc., 196 F.3d 818, 826 (7th

 Cir. 1999); see also Tarpley v. Keistler, 188 F.3d 788, 794 (7th Cir. 1999) (applying Noerr-

 Pennington doctrine to non-antitrust-related § 1983 case alleging defendants conspired to violate

 plaintiff’s constitutional rights); In re Innovatio IP Ventures, LLC Patent Litig., 921 F. Supp. 2d
 903, 911 (N.D. Ill. 2013) (Holderman, J.) (“Seventh Circuit has applied the [Noerr-Pennington]

 doctrine broadly, including to RICO claims”) (collecting cases).

           Plaintiffs also incorrectly suggest Noerr-Pennington protects their right to bring a lawsuit

 but not a defendant’s right to defend against it. See Pls.’ Proposed Instructions at 19 n.1. As the

 Ninth Circuit has stated, “Noerr-Pennington immunity, and the sham exception, also apply to

 defensive pleadings, because asking a court to deny one’s opponent’s petition is also a form of

 petition; thus, we may speak of a ‘sham defense’ as well as a ‘sham lawsuit.’” Freeman v.


 7
     State Farm submits that Noerr-Pennington bars Plaintiffs’ claims as a matter of law.


                                                   15
Case 3:12-cv-00660-DRH-SCW Document 898 Filed 08/21/18 Page 25 of 30 Page ID
                                 #39033



 Lasky, Haas & Cohler, 410 F.3d 1180, 1184 (9th Cir. 2005) (citing In re Burlington N., Inc., 822

 F.2d 518, 532-33 (5th Cir. 1987));8 cf. Mercatus Grp., LLC v. Lake Forest Hosp., 641 F.3d 834,

 842 (7th Cir. 2011) (explaining Noerr-Pennington sham exception where defendant allegedly

 violated the law by opposing zoning approvals); Int'l Bhd. of Teamsters, 196 F.3d at 826

 (holding Noerr-Pennington immunizes statements designed to “ward off” unfavorable

 decisions). In any event, under Noerr-Pennington’s broad protection, State Farm’s briefing need

 not be “core petitioning activity” (which it is) to be covered, so long as it is incidental to

 petitioning activity.9

         B.      Plaintiffs Must Prove Application Of The Sham Exception By Clear and
                 Convincing Evidence, As Required By The Seventh Circuit.
         Where, as here, Plaintiffs’ theory of liability implicates Noerr-Pennington, a jury “should

 [be] instructed” on the doctrine. See United Mine Workers of Am. v. Pennington, 381 U.S. 657,

 670 (1965).10 Plaintiffs erroneously cite out-of-circuit authority as support for instructing the

 jury that the sham exception requires only a preponderance of the evidence standard. See Pls.’


 8
   See also Toyo Tire & Rubber Co. v. Atturo Tire Corp., No. 14 C 0206, 2017 WL 1178224, at
 *5 (N.D. Ill. Mar. 30, 2017) (Lee, J.) (finding that “‘core petitioning activity’” includes “‘direct
 communications with the court,’” such as “‘documents and pleadings, in which plaintiffs or de-
 fendants make representations and present arguments to support their request that the court do or
 not do something.’” (quoting Freeman, 410 F.3d at 1184; emphasis added)); Mosdos Chofetz
 Chaim, Inc. v. RBS Citizens, N.A., 14 F. Supp. 3d 191, 204 (S.D.N.Y. 2014) (finding that “an-
 swer[ing] allegations” implicates Noerr-Pennington protection); Williams v. Jones & Jones
 Mgmt. Grp., Inc., No. CV 14-2179, 2015 WL 349443, at *9 (C.D. Cal. Jan. 23, 2015) (Morrow,
 J. & McDermott, M.J.) (dismissing RICO suit alleging that defendants and their attorneys “filed
 papers” with misrepresentations in previous state court action because such “defensive petition-
 ing activity” constitutes a “burden on petitioning rights.”).
 9
   Allied Tube & Conduit Corp. v. Indian Head, Inc., 486 U.S. 492, 503 (1988) (The reach of
 Noerr-Pennington is broad and not limited to “direct petitioning of government officials, for
 Noerr itself immunized a form of ‘indirect’ petitioning.”); In re Innovatio IP Ventures, 921 F.
 Supp. 2d at 911 (Holderman, J.) (holding even pre-suit cease and desist correspondence is suffi-
 ciently incidental to core petitioning activity to be immunized).
 10
   See also United States v. White, 610 F.3d 956, 962 (7th Cir. 2010) (where “inferences that can
 be drawn from facts” determine whether the conduct is protected by the First Amendment or not,
 both sides argue their inferences from the evidence to the jury, and the court may instruct the ju-
 ry on “the legal requirements imposed by the First Amendment.”).


                                                 16
Case 3:12-cv-00660-DRH-SCW Document 898 Filed 08/21/18 Page 26 of 30 Page ID
                                 #39034



 Proposed Instructions at 19-20 n.1 (citing Litton Sys., Inc. v. Am. Tel. & Tel. Co., 700 F.2d 785,

 813-14 (2d Cir. 1983)). Plaintiffs ignore the Seventh Circuit’s holding in MCI Communications

 Corp. v. American Telephone & Telegraph Co., 708 F.2d 1081, 1155 (7th Cir. 1983), that it is

 the Plaintiffs’ burden to establish the sham exception by clear and convincing evidence. In MCI

 Communications, the Seventh Circuit expressly approved of the district court’s jury instruction

 in that case regarding the sham exception to the Noerr-Pennington doctrine, which involves First

 Amendment concerns. The Seventh Circuit explained that the district court’s jury instruction

 “stressed that [Plaintiff’s] burden on this claim is higher (clear and convincing evidence) because

 of these First Amendment concerns.” Id. The Seventh Circuit concluded that through this jury

 instruction “the essentials of the [Noerr-Pennington] doctrine and the exception to it for sham

 litigation were clearly and correctly explained.” Id. (emphasis added). In accord with MCI

 Communications, Judge Kennelly of the Northern District of Illinois just recently instructed a

 jury that the sham litigation exception “requires the plaintiffs to prove by clear and convincing

 evidence [that the exception applies].”11 Shuffle Tech Int’l v. Scientific Games Corp., 1:15-cv-

 03702, [291] at 17 (N.D. Ill. Aug. 8, 2018).

        Under Seventh Circuit precedent, establishing the sham exception requires Plaintiffs to

 prove by clear and convincing evidence that a misrepresentation “(1) was intentionally made,

 with knowledge of its falsity; and (2) was material, in the sense that it actually altered the

 11
    District courts in this circuit have repeatedly and consistently construed the Seventh Circuit’s
 opinion in MCI Communications as requiring that the sham exception must be proven by clear
 and convincing evidence. See, e.g., State of Ill. ex rel. Hartigan v. Panhandle E. Pipe Line Co.,
 730 F. Supp. 826, 937 (C.D. Ill. 1990) (Mihm, J) (under Noerr-Pennington, “liability can be im-
 posed only upon clear and convincing evidence that the defendant’s [petitioning activity] ... was
 a sham,” citing MCI Communications), aff'd sub nom. State of Ill., ex rel. Burris v. Panhandle E.
 Pipe Line Co., 935 F.2d 1469 (7th Cir. 1991); G. Heileman Brewing Co. v. Anheuser-Busch Inc.,
 676 F. Supp. 1436, 1476 (E.D. Wis. 1987) (Curran, J.) (under the sham exception to Noerr-
 Pennington, “[t]he plaintiffs must prove the defendant’s bad faith by clear and convincing evi-
 dence,” citing MCI Communications), aff'd, 873 F.2d 985 (7th Cir. 1989); Gen. Dynamics Corp.
 v. Am. Tel. & Tel. Co., 650 F. Supp. 1274, 1288 & n.14 (N.D. Ill. 1986) (Nordberg, J.) (refusing
 to apply collateral estoppel to Noerr-Pennington defense where Second Circuit applied prepon-
 derance of the evidence standard instead of “clear and convincing evidence” standard required in
 the Seventh Circuit in MCI Communications).


                                                 17
Case 3:12-cv-00660-DRH-SCW Document 898 Filed 08/21/18 Page 27 of 30 Page ID
                                 #39035



 outcome of the proceeding.” Mercatus Grp., LLC, 641 F.3d at 843; MCI Commc'ns Corp., 708

 F.2d at 1155. This is the test and evidentiary standard as to which the Court should instruct the

 jury, consistent with Defendants’ Proposed Jury Instructions, at 35-42.

 VI.    PLAINTIFFS ARE NOT ENTITLED TO POST-JUDGMENT INTEREST UNDER
        ILLINOIS LAW
        Plaintiffs incorrectly contend that, under the Illinois post-judgment interest statute, their

 “damages … includes the amount of the Avery judgment after the court of appeals decision and

 any post-judgment interest thereon …,” and that “the property interest” that they purportedly lost

 “included both the amount of the Avery judgment … and any interest that had accrued on that

 judgment as a matter of Illinois law.” [861] at 2 (emphasis added). Plaintiffs’ theory that they can

 collect post-judgment interest on a judgment reversed by the Illinois Supreme Court shows the

 hypocrisy of their Rooker-Feldman arguments and is contrary to Illinois law. Plaintiffs should be

 precluded from having their expert, Thomas Myers, present to the jury their claim for

 approximately $1.8 billion in post-judgment interest. See [708-17] at 3.

        The Illinois post-judgment interest statute, 735 ILCS 5/2-1303, does not allow post-

 judgment interest on a reversed or vacated judgment. Under the Illinois statute, post-judgment

 interest accrues only on valid and actually “recovered” judgments, not on theoretical judgments

 that merely “should have been recovered.” Tri-G, Inc. v. Burke, Bosselman & Weaver, 856

 N.E.2d 389, 411 (Ill. 2006). In Tri-G, a legal malpractice case, the Illinois Supreme Court
 refused to award post-judgment interest dating back to the judgment that the plaintiff

 hypothetically should have won, but for the defendant attorneys’ negligence. See id. The Court

 held that the relevant date for post-judgment interest was not the date of the “purported,

 hypothetical judgment,” but the date judgment was entered on the plaintiff’s malpractice claim,

 “which was the only judgment rendered in this [case].” Id. Thus, under the Illinois statute, no

 post-judgment interest could begin to accrue in this case unless and until there is a final judgment




                                                 18
Case 3:12-cv-00660-DRH-SCW Document 898 Filed 08/21/18 Page 28 of 30 Page ID
                                 #39036



 in favor of Plaintiffs.12 There can be no post-judgment interest dating back to the reversed $1.05

 billion Avery judgment because that judgment will never be reinstated and, indeed, Plaintiffs

 claim they do not seek its reinstatement. See Needham v. White Labs., Inc., 847 F.2d 355, 361

 (7th Cir. 1988) (under the Illinois post-judgment interest statute, where a judgment was “set

 aside, the case was retried, and a new judgment was entered, albeit one identical in amount to the

 old judgment,” post-judgment interest could not be awarded from the date of the old judgment).

        Moreover, contrary to Plaintiffs’ contentions ([861] at 2), post-judgment interest is not

 “by way of damages.” People ex rel. Farwell v. Kelly, 13 N.E.2d 181, 182 (Ill. 1938). “The right

 to judgment interest, apart from contract, ‘does not emanate from the controversy, or from the

 judgment, or from anything of a judicial nature’…. It is purely statutory.” Tri-G, 856 N.E.2d at

 411 (citation omitted). Thus, in Tri-G, the Illinois Supreme Court expressly rejected the

 plaintiff’s contention that post-judgment interest constituted “compensatory damages.” Id.; see

 also Blaine v. City of Chicago, 8 N.E.2d 939, 941 (Ill. 1937) (post-judgment interest is not part

 of the judgment, but compensates delayed payment of a “final judgment”).

        Accordingly, post-judgment interest under the Illinois statute “is directly connected to the

 enforcement of the judgment, preventing the judgment debtor from benefitting from retention of

 the money judgment and providing the judgment debtor an incentive to pay the judgment

 promptly.” Eclipse Mfg. Co. v. U.S. Compliance Co., 886 N.E.2d 349, 361 (Ill. App. Ct. 2007).
 Plaintiffs have cited no case in which “post-judgment” interest was applied to a reversed, never-

 reinstated judgment as part of compensatory damages, or in which a court granted post-judgment

 interest on a judgment from another court in a different litigation.

        Furthermore, post-judgment interest would be a matter of law for the Court to determine,

 whether under Illinois law or under federal law (which properly governs in this case), and not a

 matter that “must be ascertained by a jury.” Blaine, 8 N.E.2d at 941; see also, e.g., Illinois State

 Toll Highway Auth. v. Heritage Standard Bank & Trust Co., 626 N.E.2d 213, 221 (Ill. 1993)

 12
   Likewise, under the relevant federal statute, postjudgment interest could only be awarded on a
 judgment “recovered in [this] district court.” See 28 U.S.C. § 1961(a).


                                                  19
Case 3:12-cv-00660-DRH-SCW Document 898 Filed 08/21/18 Page 29 of 30 Page ID
                                 #39037



 (trial court was required “‘to ascertain the interest accruing upon the verdict, and include it in the

 judgment”); Poliszczuk v. Winkler, 962 N.E.2d 610, 612, 614-15 (Ill. App. Ct. 2011) (reviewing

 trial court’s determination as to accrual dates for post-judgment interest for abuse of discretion).

        Plaintiffs have cited no case in which an expert was allowed to testify before a jury on

 issues regarding post-judgment interest. To the contrary, in the rare cases where a party attempts

 to proffer an expert on this subject, courts exclude the testimony. See, e.g., BP Prod. N. Am. Inc.

 v. Int'l Maint. Corp., 2005 WL 5976553, at *5 (S.D. Tex. May 27, 2005) (Atlas, J.) (“challenge

 to [expert]’s proffered opinion regarding pre-and post-judgment interest [was] well-taken;”

 “[t]he applicable interest rate is a question of law…determined in accordance with the Federal

 statute.”). In sum, issues of post-judgment interest, as well as prejudgment interest and trebling,

 should be resolved by the Court through post-trial motions.

 Dated: August 21, 2018                                              Respectfully submitted,
                                                                     /s/ Ronald S. Safer
 Michael P. Kenny               Patrick D. Cloud, #06282672          Ronald S. Safer #6186143
 ALSTON & BIRD LLP              HEYL, ROYSTER, VOELKER               RILEY SAFER HOLMES &
 One Atlantic Center            & ALLEN                                CANCILA LLP
 1201 West Peachtree St.        Mark Twain Plaza III, Suite 100      Three First National Plaza
 Atlanta, GA 30309              105 W. Vandalia St.                  70 W. Madison St., Ste. 2900
                                Edwardsville, IL 62025               Chicago, IL 60602

 J. Timothy Eaton,              Of Counsel:
 #0707341                       Sheila L. Birnbaum
 TAFT STETTINIUS &              Douglas W. Dunham
 HOLLISTER LLP                  Ellen P. Quackenbos
 111 East Wacker                DECHERT LLP
 Suite 2800                     Three Bryant Park
 Chicago, IL 60601              1095 Avenue of the Americas
                                New York, New York 10036


        Attorneys for Defendant State Farm Mutual Automobile Company




                                                  20
Case 3:12-cv-00660-DRH-SCW Document 898 Filed 08/21/18 Page 30 of 30 Page ID
                                 #39038


                             CERTIFICATE OF SERVICE
       I hereby certify that a copy of Defendant State Farm Mutual Automobile Insurance

 Company’s Trial Brief was served upon all counsel of record on August 21, 2018, via the

 Court’s CM/ECF system.

 Dated: August 21, 2018                        /s/ Ronald S. Safer
